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Michelle Sweet, OSB No. 060015
Assistant Federal Public Defender
101 S.W. Main, Suite 1700
Portland, OR 97204
Tel: (503) 326-2123
Fax: (503) 326-5524
Email: michelle_sweet@fd.org

Attorney for Defendant




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                        Case No. 1:21-cr-00237-RDM-1

                        Plaintiff,                UNOPPOSED MOTION TO MODIFY
                                                  CONDITIONS OF RELEASE AND
        vs.                                       PERMIT TRAVEL

 JONATHANPETER ALLEN KLEIN,

                        Defendant.

       Jonathanpeter Klein, through counsel, respectfully moves this Court for an order modifying

the conditions of release and granting permission to travel to Baker City, OR during the month of

December 2021.

       Mr. Klein asks the Court to strike the requirement requiring submission of a third-party

custodian declaration. Mr. Klein’s third-party custodian, agrees to and has a continuing legal duty

to report any violations of pretrial release conditions to Pretrial Services, regardless of whether

such a declaration is filed. Undersigned counsel conferred with the government and the

government is unopposed to this modification.

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       Mr. Klein asks the Court for permission to visit his parents from December 24 to December

26, 2021 subject to location monitoring and all previously ordered release conditions (CR 41).

Address information has been provided to Pretrial Services.

       From December 24 to December 26, 2021, Mr. Klein requests that third party custody

transfer from the current custodian, Marillee Flanagan, to his sister, Emily Klein, during the

requested travel period to remain in compliance with his conditions. Mr. Klein will travel by car

from Pendleton, Oregon to Baker City Oregon to visit his parents for the Christmas holiday. He

would depart the Flanagan home on December 24, 2021and return to the Flanagan home on

December 26, 2021. Mr. Klein expects any timing and manner of travel to be conditioned as

specified by Pretrial Services, as well as any other conditions needed. Third-party custodian would

transfer back to the current custodian at the end of the day on December 26, 2021.

       Since his release to the custody of his third-party custodian on May 19, 2021, Mr. Klein

has generally remained in compliance with the conditions of his pretrial release (CR 50, 53, 55,

57, 59), save for one instance when he was on a road that went outside the bounds of the county.

In that instance, it was reported to the Court by pretrial services with a recommendation that no

action be taken. He is employed full-time. He also contributes to his third-party custodian’s

household by taking on home improvement projects. Additionally, he is actively involved in his

local faith community.

       Undersigned counsel has contacted counsel for the government, Assistant United States

Attorney Christopher K. Veatch, who is unopposed to the instant motion provided that Mr. Klein

remain on location monitoring during the requested travel, he remains in compliance with the

conditions of pretrial release and any other requirements of this Court.

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CONCULSION

       For the reasons stated above, Mr. Klein asks this Court to strike the requirement requiring

submission of a third-party custodian declaration and requests permission to allow travel from

Pendleton, Oregon to Baker City, Oregon, to visit his parents for Christmas, from December 24 to

December 26, 2021, while temporarily transferring third-party custody to Emily Klein.

       RESPECTFULLY SUBMITTED this 10th day of December 2021.

                                            /s/ Michelle Sweet
                                            Michelle Sweet
                                            Attorney for Defendant




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